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                                                                                                US010514832B2


          United States Patent                                              (10 ) Patent No.: US 10,514,832 B2
          Rudman et al.                                                     (45 ) Date of Patent: * Dec . 24 , 2019
   (54 ) METHOD FOR LOCATING REGIONS OF                                               Related U.S. Application Data
          INTEREST IN A USER INTERFACE                                 (63) Continuation of application No. 13 / 993,939, filed as
   ( 71 ) Applicant: THOMSON Licensing,                                        application No. PCT/US2011/066004 on Dec. 20 ,
                                                                               2011 , now Pat. No. 9,990,112 .
                     Issy -les -Moulineaux (FR )                                                    (Continued )
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                       (US ); Vasil Nadzakov , Beverly Hills ,                 GOOF 3/048                  (2013.01 )
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                      Burbank, CA (US) ; Dana Forte ,                                              ( 2013.01) ; G06F 370485 ( 2013.01);
                       Castaic , CA (US) ; Dan Han Diep , San                                 (Continued )
                      Gabriel, CA (US) ; Samir Ahmed ,                ( 58 ) Field of Classification Search
                       Culver City, CA (US); Lee Shartzer ,                    None
                       Valencia , CA (US); John Frederick                      See application file for complete search history.
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                       Booth , Burbank , CA (US ); Hao Chi            (56 )                      References Cited
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                      Gudorf, San Diego , CA (US) ; Douglas                   5,491,795 A         2/1996 Beaudet et al.
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                       (US); Mark Walker, Castaic, CA (US );                                        (Continued )
                      David Pettigrew , San Francisco , CA
                     (US )                                                           FOREIGN PATENT DOCUMENTS
   (73 ) Assignee: Thomson Licensing , Cesson -Sevigne                 CN
                                                                       JP
                                                                                       101617288
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                                                                                                            12/1994
                     (FR )
                                                                                                    (Continued )
   ( * ) Notice :    Subject to any disclaimer, the term of this                            OTHER PUBLICATIONS
                     patent is extended or adjusted under 35
                     U.S.C. 154(b ) by 48 days.                       International Search Report dated Apr. 24 , 2012 .
                      This patent is subject to a terminal dis
                     claimer .                                        Primary Examiner Hua Lu
                                                                       ( 74 ) Attorney , Agent, or Firm        Vincent Edward Duffy
   ( 21) Appl. No.: 15 /971,020                                        (57)                       ABSTRACT
   (22) Filed :      May 4 , 2018                                     The present disclosure is directed towards having a user
                                                                      interface that displays a number of cards or windows. A user
   (65)              Prior Publication Data
                                                                      can implement a command where the user interface will
                                                                      automatically change the position of the displayed cards to
          US 2018/0253203 A1 Sep. 6 , 2018                                                         (Continued )
                                                                                                     500
                                             Live Guide
                                             Play     ESTIT        7:00 AM-8:00AM
                                  512                              Paid Programming                 510
                                             Play     COMEDY
                                                      CENTRAL      7:00 AM-7:30AM
                                  515
                                                                   Collage Football-2001:
                                             Play   Classic        Texas vs. Washington
                                                                   5:00 AM-8:00AM
                                  522                              The Night Listener
                                             Play      amc
                                                                   7:00 AM-8:45AM                   520
                                  525
                                             Play MCMEX
                                                    947
                                                        Mexicana
                                                                                            +
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   show regions of interest which are the parts of the cards that           2003/0156141
                                                                            2005/0257152
                                                                                           A1   8/2003 Good et al.
                                                                                           A1 11/2005 Shimizu et al.
   a user may have interested in . The user interest can be                 2006/0048076   Al   3/2006 Vronay et al.
   determined in accordance with user preference information .              2006/0195789   Al 8/2006 Rogers et al.
   Optionally, cards which do not have regions of interest are              2007/0082707   Al   4/2007 Flynt et al.
   removed from a display area and such cards are replaced                  2007/0245263   A1 10/2007 Hale et al.
   with new cards that do have regions of interest.                         2008/0059884   A1 * 3/2008 Ellis                HO4N 5/44543
                                                                                                                                 715/721
               18 Claims, 12 Drawing Sheets                                 2008/0071827 A1       3/2008 Hengel et al.
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                    Related U.S. Application Data                           2009/0070363   A1     3/2009 Bull et al.
                                                                            2009/0204925   Al     8/2009 Bhat et al.
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                                                                                                                                 715/808
                                                                                                                             G06F 3/0482
        on Dec. 22 , 2010 .                                                                                                      715/716
   (51) Int. Cl.
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             G06F 16/438              (2019.01)                                                                                  715/784
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                  16/444 (2019.01); GIIB 27/034 ( 2013.01 );                2010/0313110   A1 12/2010 Claridge et al.
                                                                            2011/0047504   Al 2/2011 Wienands et al.
                GIIB 27/105 ( 2013.01); GO6F 2203/04806                     2011/0107369   A1 * 5/2011 O'Brien               G11B 27/034
                                                          (2013.01)                                                               725/38
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     2003/0001907 A1 *        1/2003 Bergsten          G06F 3/0482
                                                           715/853      * cited by examiner
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                                                   114           DisplayDevice
                                                                                                              STcoruechn DCoenvtircoel   116

            100
                                               Bro1ad0cas8t
                                                            Re c iv n g Device
                                                                                       Broadcst                                                      118


       COTA,able   Satelite DeliveryN1etwork               106                   112        Delivery
                                                                                                   2Network
                                                                                                                                           Personalizt   Engine BSEeanrcvdekr
                                                                                                                                                                                FIG
                                                                                                                                                                                1
                                                                                                                                                                                .

        104              ABroadcst filate Man ger                                110
                                                                                             Conte Manger Inter t Conte
                             Broadcst Conte                                              SpecialMVoivdeo Conte Datbse   U s ag e
                                                 102           Conte Source                                                                        120
Case 1:22-cv-00080-SOM-KJM Document 1-2 Filed 02/28/22 Page 5 of 22                                                                                  PageID #: 19


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                                                                                             222

                 Audio   Interfac          216             User   Interfac                   Touch Panel Interfac   DisplayInterfac          218
                                        220
           208
                                                                                                         214
                                    Control Memory                      Contrle
           206                                                                                                                         210

                 Audio   Proces r                    212          StorageD vice                                     Video   Proces r           2
                                                                                                                                               .
                                                                                                                                               FIG




                                                 204
                                                              Input Stream        Proces r
           200
                                                 202         Input Signal         Recivr
Case 1:22-cv-00080-SOM-KJM Document 1-2 Filed 02/28/22 Page 6 of 22            PageID #: 20


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                          300




                                            FIG . 3


               OR                                  450                   420
                                460                  S
                                                Dragging            Bumping
     480 — Wagging            Nodding                         Leftward
                                                               R          Tupward
                         WORK                                Rightward Downward

               440                  470                  430
                 S                                      s
              Circling             X -ing           Checking
          (2-3)OR (2-3 Xfor X
                                          FIG . 4
Case 1:22-cv-00080-SOM-KJM Document 1-2 Filed 02/28/22 Page 7 of 22         PageID #: 21


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                  Live Guide
                  Play        EST            7:00 AM-8:00AM
       512                                  Paid Programming             510
                  Play        COMEDY
                               CENTRAL      7:00 AM-7:30AM
       515
                                            Collage Football-2001:
                  Play Classic              Texas vs.Washington
                                            5:00 AM-8:00AM
       522                     amc           The Night Listener          520
                  Play                      7:00 AM-8:45AM
       525

                  Play      MCMEX           Mexicana
                              947
                                                                  +

                                          FIG . 5
                                                                          600
                  Library
       612                                  Nacho Libre
                  Play                      2006-06-16                   610
       615
                                            Napolean Dynamite
                  Play                       2004-01-17

                                            Star Trek
                  Play                      2009-06-07
       622                                  African White Rhino          620
                  Play                       2010-11-06
       625
                                                                  +

                                          FIG . 6
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                   730

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                   760
                                          FIG . 7
                                                               800

                   710


                   720                                       705
                   730

                   740

                   750

                   7604
                                          FIG . 8
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                                                                     900

                       920                      930                        940

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                                        FIG . 9

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                 920                    930                      940
        910




                                        FIG . 10
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                Libra y                   Play Play D
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                                                                                                                                                            FIG
                                                                                                                                                            .

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                              PA7M-:80AM roagimdngA7M-:03AM WvTlasehsixnga.toscn5AM-:80AM LNTishtgenetrA7M-:8045AM Mexican
                                                                                                                                                     1 30
                  GLuivde Play CO|PlayMEDY Play Play MC PEXlay
                          G a r 1 7                    C E N T R A LS
        1 10                                                                                       a m  c                                947
Case 1:22-cv-00080-SOM-KJM Document 1-2 Filed 02/28/22 Page 11 of 22                                                                                                                  PageID #:
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                                     LNiabcrheo                     DNyanpomlietan 204-1 7
                                                   206- 1 209-67 201- 6                                          TSrteakr                   RWAfhricntaoe
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   120
                Libra y                           Play Play Play Play
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                                                                                             2001:-FCo ltbagle
                                                  PA7M-:80AM roagimdngA7M-:03AM WvTlasehsixnga.toscnA5M-:80AM LNTisthgenetrA7M-:8045AM Mexican                                 1 30   12
                                                                                                                                                                                      .
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                 GLuivde Play             Brid                     CCO|PlayMEDENYTRALS CBlaraids i amc
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                                       FIG . 13
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                 1310                     1335




                 1345                                        1325




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                                         FIG . 14
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                       1510
                                        1555                              1525

            1575




                                                                          1520
                           1560         1550       1540          1530
            1570
                                       FIG . 15

                                                                        1600
                    1510      1575         1555       1525




                            1570           1550       1520

                                        FIG . 16
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                                       1700


             GENERATING CARDS /WINDOWS FOR
                               DISPLAY                             1705



             IN RESPONSE TO A USER COMMAND ,
           DETERMINING REGIONS OF INTEREST IN                      1710
             THE GENERATED CARDS /WINDOWS



             REFERENCING A USER PROFILE OR
            OTHER TYPES OF USER PREFERENCE                        1715
            INFORMATION TO DETERMINE REGIONS
                           OF INTEREST


             APPLYING A SEARCH TECHNIQUE FOR
              FINDING REGIONS OF INTEREST IN
            GENERATED CARDS IN ACCORDANCE                        · 1720
           WITH USER PREFERENCE INFORMATION


                UPDATING THE PLACEMENT OF
              GENERATED CARDS FOR DISPLAY                         1725


                              FIG . 17
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                                                     US 10,514,832 B2
                                 1                                                                    2
        METHOD FOR LOCATING REGIONS OF                                     FIG . 5 illustrates an exemplary embodimentof a first card
          INTEREST IN A USER INTERFACE                                  user interface of the present disclosure ;
                                                                           FIG . 6 illustrates an exemplary embodiment of an second
             CROSS REFERENCE TO RELATED                                 card user interface of the present disclosure ;
                        APPLICATIONS                                5     FIG . 7 illustrates an exemplary embodiment of first
                                                                        manipulation of a card user interface of the present disclo
     This application claims the benefit, under 35 U.S.C. $       sure ;
  120 , ofU.S. patent application Ser. No. 13 /993,939 filed Jan.    FIG . 8 illustrates an exemplary embodiment of an second
  29 , 2014 , which claims the benefit, under 35 U.S.C. § 365     manipulation of a card interface of the present disclosure;
  of International Application PCT/US2011/066004 filed Dec.    10     FIG . 9 illustrates an exemplary embodiment of first
  20 , 2011 which was published in accordance with PCT            manipulation of multiple card interfaces when present on a
  Article 21(2 ) on Jun. 28 , 2012 in English and which claims     display device in accordance with the present disclosure ;
  the benefit of U.S. provisional patent applications No.            FIG . 10 illustrates an exemplary embodiment of a second
  61/426,509 filed Dec. 22, 2010 and 61/429,741 filed Jan. 4 ,    manipulation of multiple card interfaces when present on a
  2011 .                                                       15 display device in accordance with the present disclosure;
                                                                     FIG . 11 illustrates an exemplary embodiment of a first
                      TECHNICAL FIELD                             manipulation of multiple card interfaces when present on a
                                                                   display device in accordance with the present disclosure ;
     A user interface is used for displaying multiple windows/       FIG . 12 illustrates an exemplary embodiment of second
  cards. More particularly , the present disclosure is for a 20 manipulation ofmultiple card interfaces when present on a
  method for generating a user interface to locate various display device in accordance with the present disclosure ;
  regions of interest across multiple cards with little user         FIG . 13 illustrates an exemplary embodiments of apply
  input.                                                           ing a region of interest feature to multiple cards interfaces
                                                                  when present on a display device in accordance with the
                                                               25 present disclosure ;
           BACKGROUND OF THE INVENTION
                                                                   FIG . 14 illustrates an exemplary embodiments of apply
     When using a media device such as a computer or a tablet, ing a region of interest feature to multiple cards interfaces
  it is very likely that a user will have multiple windows of when present on a display device in accordance with the
  content open at one time. These windows are typically present disclosure;
  manipulated in a way where a user has to scroll through each 30 FIG . 15 illustrates an exemplary alternative embodiment
  window or card individually to find specific areas or topics of applying a region of interest feature to multiple cards
  of interest. Such a task becomes cumbersome when a user shown on a display device in accordance with the present
  wants to find their items of interest quickly when going disclosure ;
  through cards/windows but the display interface only              FIG . 16 illustrates an exemplary alternative embodiment
  accommodates several cards and /or such cards have areas 35 of applying a region of interest feature to multiple cards
  that exceed the displayable area of the media device .         shown on a display device in accordance with the present
                                                                 disclosure ; and
               SUMMARY OF THE INVENTION                            FIG . 17 presents a flow chart for determining regions of
                                                                 interest as to update the presentation of displayed cards in
      A method is presented whereby various regions of interest 40 accordance with the present disclosure .
  are automatically shown to a user in response to the acti
  vation of an interest feature. Multiple windows or cards are                       DETAILED DESCRIPTION
  rearranged in a displayable area so that region of interest for
   each card or window is shown without requiring a user to             The present invention provides several different embodi
  manipulate such cards/windows individually.                     45 ments of a user interface that is used for receiving, record
                                                                     ing , playing back , purchasing, and the like media such as
         BRIEF DESCRIPTION OF THE DRAWINGS                           videos, television shows, movies, audio , music, video
                                                                     games, and the like. Such a user interface can be imple
      These, and other aspects , features and advantages of the mented on devices such as a computer, set top box , media
  present disclosure will be described or become apparent 50 server, tablet, mobile phone, personal media , device , por
   from the following detailed description of the preferred table video game system , video game system , and so forth .
  embodiments, which is to be read in connection with the               Turning now to FIG . 1 , a block diagram of an embodi
   accompanying drawings.                                            ment of a system 100 for delivering content to a home or end
      In the drawings, wherein like reference numerals denote user is shown . The content originates from a content source
   similar elements throughout the views:                         55 102 , such as a movie studio or production house. The
     FIG . 1 is a block diagram of an exemplary system for content may be supplied in at least one of two forms. One
  delivering video content in accordance with the present form may be a broadcast form of content. The broadcast
   disclosure ;                                                      content is provided to the broadcast affiliate manager 104,
      FIG . 2 is a block diagram of an exemplary set-top which is typically a national broadcast service, such as the
  box/digital video recorder (DVR ) as a media device in 60 casting  AmericanCompany
                                                                                 Broadcasting  Company (ABC ), National Broad
                                                                                         (NBC ), Columbia Broadcasting System
  accordance with the present disclosure ;
      FIG . 3 is a perspective view of an exemplary media ( CBS ), etc. The broadcast affiliate managermay collect and
  device in accordance with an embodiment of the present store the content, and may schedule delivery of the content
  disclosure ;                                                       over a deliver network , shown as delivery network 1 (106 ).
      FIG . 4 illustrates an exemplary embodiment of the use of 65 Delivery network 1 ( 106 ) may include satellite link trans
  a gestures for a sensing controller or touch screen in accor mission from a national center to one or more regional or
  dance with the present disclosure;                                 local centers. Delivery network 1 ( 106 ) may also include
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  local content delivery using local delivery systems such as the video content that is delivered to the display device 114
  over the air broadcast, satellite broadcast, or cable broadcast. The touch screen control device 116 may interface to media
   The locally delivered content is provided to a media device device 108 using any well known signal transmission sys
   108 in a user's home, where the content will subsequently be tem , such as infra -red (IR ) or radio frequency (RF ) com
  searched by the user. It is to be appreciated that the media 5 munications and may include standard protocols such as
  device 108 can take many forms and may be embodied as a infra- red data association ( IRDA ) standard , Wi-Fi, Blu
  set top box/digital video recorder (DVR ), a gateway, a etooth and the like, or any other proprietary protocols .
  modem , etc. Further, the media device 108 may act as entry          Operations of touch screen control device 116 will be
  point, or gateway , for a home network system that includes          described in further detail below .
  additional devices configured as either client or peer devices 10       Optionally, media device 108 and touch screen control
  in the home network .                                                device 116 can be integrated into the same device . Examples
     A second form of content is referred to as special content.       of these media devices with a touch screen include comput
  Special content may include content delivered as premium             ers , laptops, cell phones, personal media player, MP3 play
  viewing , pay -per-view , or other content otherwise not pro         ers , personal desk assistants , tablet devices, digital video
  vided to the broadcast affiliate manager, e.g., movies, video 15 recorders, and the like . For purposes of the this specification ,
  games or other video elements. In many cases, the special the term media device 108 can encompass all of these type
  content may be content requested by the user. The special of devices with set top boxes, digital video recorders,
  content may be delivered to a content manager 110. The gateway devices, and the like.
  contentmanager 110 may be a service provider, such as an           In the example of FIG . 1, the system 100 also includes a
  Internet website, affiliated , for instance , with a content 20 back end server 118 and a usage database 120. The back end
  provider , broadcast service , or delivery network service . The server 118 includes a personalization engine that analyzes
  content manager 110 may also incorporate Internet content the usage habits of a user and makes recommendations
   into the delivery system . The content manager 110 may based on those usage habits. The usage database 120 is
   deliver the content to the user's media device 108 over a           where the usage habits for a user are monitored and infor
   separate delivery network , delivery network 2 (112 ). Deliv- 25 mation about such usage habits is stored. It is possible to use
   ery network 2 ( 112 ) may include high -speed broadband such user habit information to develop a profile for user
   Internet type communications systems. It is important to which is then used for recommending advertisements and
  note that the content from the broadcast affiliate manager programming . In some cases, the usage database 120 may be
   104 may also be delivered using all or parts of delivery part of the back end server 118. In the present example , the
  network 2 ( 112 ) and content from the content manager 110 30 back end server 118 (as well as the usage database 120 ) is
  may be delivered using all or parts of delivery network 1 connected to the system the system 100 and accessed
   (106 ). In addition , the user may also obtain content directly through the delivery network 2 ( 112).
  from the Internet via delivery network 2 (112 ) without               Turning now to FIG . 2 , a block diagram of an embodi
  necessarily having the content managed by the content ment of a media device 200 is shown. Receiving device 200
  manager 110 .                                                   35 may operate similar to the media device described in FIG . 1
     Several adaptations for utilizing the separately delivered and may be included as part of a gateway device , modem ,
  content may be possible . In one possible approach , the set-top box , or other similar communications device. The
  special content is provided as an augmentation to the broad        device 200 shown may also be incorporated into other
  cast content, providing alternative displays , purchase and systems including an audio device or a display device. In
  merchandising options, enhancement material, etc. In 40 either case, several components necessary for complete
  another embodiment, the special content may completely               operation of the system are not shown in the interest of
  replace some programming content provided as broadcast               conciseness, as they are well known to those skilled in the
   content. Finally, the special content may be completely art .
  separate from the broadcast content, and may simply be a          In the device 200 shown in FIG . 2 , the content is received
  media alternative that the user may choose to utilize . For 45 by an input signal receiver 202. The input signal receiver
   instance, the special content may be a library ofmovies that 202 may be one of several known receiver circuits used for
  are not yet available as broadcast content.                    receiving, demodulation , and decoding signals provided
      The media device 108 may receive different types of over one of the several possible networks including over the
  content from one or both of delivery network 1 and delivery air, cable , satellite , Ethernet , fiber and phone line networks .
  network 2. The media device 108 processes the content, and 50         The desired input signal may be selected and retrieved by the
  provides a separation of the content based on user prefer            input signal receiver 202 based on user input provided
  ences and commands . The media device 108 may also                   through a control interface or touch panel interface 222.
  include a storage device , such as a hard drive or optical disk       Touch panel interface 222 may include an interface for a
  drive, for recording and playing back audio and video                touch screen device . Touch panel interface 222 may also be
  content. Further details of the operation of the media device 55      adapted to interface to a cellular phone, a tablet, a mouse , a
  108 and features associated with playing back stored content         high end remote or the like .
  will be described below in relation to FIG . 2. The processed            The decoded output signal is provided to an input stream
  content is provided to a display device 114. The display             processor 204. The input stream processor 204 performs the
  device 114 may be a conventional 2 - D type display or may           final signal selection and processing, and includes separation
  alternatively be an advanced 3 - D display .                    60   of video content from audio content for the content stream .
     The media device 108 may also be interfaced to a second            The audio content is provided to an audio processor 206 for
  screen such as a touch screen control device 116. The touch          conversion from the received format, such as compressed
  screen control device 116 may be adapted to provide user             digital signal, to an analog waveform signal. The analog
  control for the media device 108 and /or the display device          waveform signal is provided to an audio interface 208 and
  114. The touch screen device 116 may also be capable of 65           further to the display device or audio amplifier. Alterna
  displaying video content. The video contentmay be graphics           tively, the audio interface 208 may provide a digital signal
  entries, such as user interface entries, or may be a portion of      to an audio output device or display device using a High
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  Definition Multimedia Interface (HDMI) cable or alternate         described below . Further, the implementation of the control
  audio interface such as via a Sony /Philips Digital Intercon      memory 220 may include several possible embodiments ,
  nect Format (SPDIF ). The audio interface may also include        such as a single memory device or , alternatively , more than
  amplifiers for driving one more sets of speakers . The audio one memory circuit communicatively connected or coupled
  processor 206 also performs any necessary conversion for 5 together to form a shared or common memory. Still further,
  the storage of the audio signals.                            the memory may be included with other circuitry, such as
     The video output from the input stream processor 204 is        portions of bus communications circuitry, in a larger circuit .
  provided to a video processor 210. The video signal may be            Optionally , controller 214 can be adapted to extractmeta
  one of several formats. The video processor 210 provides, as data from audio and video media by using audio processor
  necessary a conversion of the video content, based on the 10 206 and video processor 210 , respectively. That is ,metadata
  input signal format. The video processor 210 also performs that is contained in video signal in the vertical blanking
  any necessary conversion for the storage of the video interval, auxiliary data fields associated with video , or in
  signals.                                                          other areas in the video signal can be harvested by using the
      A storage device 212 stores audio and video content video processor 210 with controller 214 as to generate
  received at the input. The storage device 212 allows later 15 metadata that can be used for functions such as generating
  retrieval and playback of the content under the control of a an electronic program guide, have descriptive information
  controller 214 and also based on commands , e.g., navigation about received video , supporting an auxiliary information
  instructions such as fast - forward ( FF ) and rewind (Rew ), service , and the like. Similarly, the audio processor 206
  received from a user interface 216 and/ or touch panel working with controller 214 can be adapted to recognize
  interface 222. The storage device 212 may be a hard disk 20 audio watermarks thatmay be in an audio signal. Such audio
  drive, one or more large capacity integrated electronic watermarks can then be used to perform some action such as
  memories, such as static RAM (SRAM ), or dynamic RAM              the recognition of the audio signal, security which identifies
  (DRAM ), ormay be an interchangeable optical disk storage the source of an audio signal, or perform someother service .
  system such as a compact disk (CD ) drive or digital video Furthermore, metadata to support the actions listed above
  disk (DVD ) drive.                                             25 can come from a network source which are processed by
      The converted video signal, from the video processor 210 , controller 214 .
  either originating from the input or from the storage device          Turning now to FIG . 3, the user interface process of the
  212, is provided to the display interface 218. The display present disclosure employs an input device that can be used
   interface 218 further provides the display signal to a display to express functions, such as fast forward , rewind , etc. To
  device of the type described above. The display interface 30 allow for this , a tablet or touch panel device 300 ( which is
  218 may be an analog signal interface such as red - green         the same as the touch screen device 116 shown in FIG . 1
  blue (RGB) or may be a digital interface such as HDMI. It and /or is an integrated example of media device 108 and
   is to be appreciated that the display interface 218 will touch screen device 116 ) may be interfaced via the user
  generate the various screens for presenting the search results interface 216 and /or touch panel interface 222 of the receiv
   in a three dimensional gird as will be described in more 35 ing device 200. The touch panel device 300 allows operation
  detail below .                                                    of the receiving device or set top box based on hand
      The controller 214 is interconnected via a bus to several movements, or gestures, and actions translated through the
  of the components of the device 200 , including the input panel into commands for the set top box or other control
  stream processor 202, audio processor 206 , video processor device . In one embodiment, the touch panel 300 may simply
  210 , storage device 212 , and a user interface 216. The 40 serve as a navigational tool to navigate the grid display. In
  controller 214 manages the conversion process for convert other embodiments , the touch panel 300 will additionally
  ing the input stream signal into a signal for storage on the serve as the display device allowing the user to more directly
  storage device or for display. The controller 214 also man        interact with the navigation through the grid display of
  ages the retrieval and playback of stored content. Further content. The touch panel device may be included as part of
  more, as will be described below , the controller 214 per- 45 a remote control device containing more conventional con
  forms searching of content and the creation and adjusting of trol functions such as activator buttons . The touch panel 300
  the gird display representing the content, either stored or to    can also includes at least one camera element. As described
  be delivered via the delivery networks, described above.           in further detail below , content displayed on the touch panel
      The controller 214 is further coupled to controlmemory device 300 may be zapped or thrown to the main screen
  220 (e.g., volatile or non -volatile memory, including RAM , 50 (e.g., display device 114 shown in FIG . 1 ).
  SRAM , DRAM ,ROM , programmable ROM (PROM ), flash                    Turning now to FIG . 4 , the use of a gesture sensing
  memory, electronically programmable ROM ( EPROM ), controller or touch screen , such as shown , provides for a
  electronically erasable programmable ROM (EEPROM ), number of types of user interaction . The inputs from the
  etc.) for storing information and instruction code for con        controller are used to define gestures and the gestures, in
  troller 214. Controlmemory 220 may store instructions for 55 turn , define specific contextual commands. The configura
  controller 214. Controlmemory may also store a database of tion of the sensors may permit defining movement of a
  elements, such as graphic elements containing content, user's fingers on a touch screen ormay even permit defining
  various graphic elements used for generating a displayed           themovement of the controller itself in either one dimension
  user interface for display interface 218 , and the like. Alter     or two dimensions. two- dimensional motion , such as a
  natively, the memory may store the graphic elements in 60 diagonal, and a combination of yaw , pitch and roll can be
  identified or grouped memory locations and use an access or used to define any three -dimensional motion , such as a
  location table to identify the memory locations for the swing . A number of gestures are illustrated in FIG . 4 .
  various portions of information related to the graphic ele     Gestures are interpreted in context and are identified by
  ments . In addition , various graphic elements can be gener    defined movements made by the user.
  ated in response to computer instructions interpreted by 65 Bumping 420 is defined by a two -stroke drawing indicat
  controller 214 for output to display interface 218. Additional ing pointing in one direction , either up , down, left or right.
  details related to the storage of the graphic elements will be The bumping gesture is associated with specific commands
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   in context. For example, in a TimeShifting mode, a left               channel that can be tuned to by activating play control 512 .
  bump gesture 420 indicates rewinding , and a right-bump Cell 520 displays information for a television show called
   gesture indicates fast- forwarding. In other contexts , a bump The Night Listener which is being broadcasted on American
  gesture 420 is interpreted to increment a particular value in Movie Classics (AMC ) which is indicated by graphic 525 .
  the direction designated by the bump. Checking 440 is 5 If a user wants to tune to AMC , play control 522 can be
  defined as in drawing a checkmark . It is similar to a activated with a gesture. The result of the activation of play
   downward bump gesture 420. Checking is identified in controls 512 , 522 leads to the outputting of a tuned channel
   context to designate a reminder, user tag or to select an item        to a display or recording device.
   or element. Circling 440 is defined as drawing a circle in               FIG . 6 is an exemplary embodiment of a card interface
  either direction . It is possible that both directions could be 10 600 for another application that represents different media
  distinguished . However, to avoid confusion , a circle is assets (video , audio , pictures , and the like ) that are available
   identified as a single command regardless of direction . for playback . Specifically, such media assets can be stored in
  Dragging 450 is defined as an angular movement of the a content source such as local storage medium , a remote
  controller (a change in pitch and /or yaw ) while pressing a storage medium , an on -demand media service such as video
   button (virtual or physical) on the tablet 300 (i.e. , a " trigger 15 on demand , over the top media service , and the like , where
   drag ”) . The dragging gesture 450 may be used for naviga             a media asset is delivered to a media device when requested .
  tion, speed , distance, time-shifting, rewinding , and forward For example , in response to the activation of play control
   ing. Dragging 450 can be used to move a cursor, a virtual 612 , the media asset Nacho Libre as indicated by cell 610
  cursor, or a change of state, such as highlighting outlining or can be played back using the exemplary architecture as
   selecting on the display. Dragging 450 can be in any 20 described for FIG . 1. Similarly, a media asset identified as
  direction and is generally used to navigate in two dimen               African White Rhino in cell 620 can be played when play
   sions. However, in certain interfaces , it is preferred to control 622 is activated with a gesture .
  modify the response to the dragging command . For example ,               Graphics 612 and 625 represent thumbnails, poster art,
  in some interfaces, operation in one dimension or direction logo , icon , and the like that are used to identify a media asset
   is favored with respect to other dimensions or directions 25 whereby graphic 612 represents Nacho Libre while graphic
  depending upon the position of the virtual cursor or the element 625 represents African White Rhino . Such graphics
  direction of movement. Nodding 460 is defined by two fast can be linked to a media asset by an association made by a
   trigger-drag up -and -down verticalmovements. Nodding 460 user, program guide information that specifies a particular
   is used to indicate “ Yes ” or “ Accept.” X - ing 470 is defined graphic , a screenshot from a media file , and the like.
   as in drawing the letter “ X.” X -ing 470 is used for “ Delete” 30 FIG . 7 is an exemplary embodiment of a card interface
  or “ Block ” commands. Wagging 480 is defined by two 700 that is manipulated by a gesture or an action by an input
   trigger -drag fast back -and-forth horizontal movements . The device . Card interface 700 has a display area 705 which is
  wagging gesture 480 is used to indicate “ No” or “ Cancel.” the part of the card or window that can be viewed . Some
      Depending on the complexity of the sensor system , only times there may be more elements where a card may have
  simple one dimensional motion or gestures may be allowed . 35 more elements than can be displayed in display area 705 at
   For instance, a simple right or leftmovement on the sensor one time. For example, cell 710 is not displayed for card
   as shown here may produce a fast forward or rewind interface 700 while cells 720, 730 , 740 , 750 , and part of cell
   function . In addition , multiple sensors could be included and 760 are viewable in display area 705 .
   placed at different locations on the touch screen . For                  Cards can be manipulated in a vertical direction using a
   instance, a horizontal sensor for left and right movement 40 gesture or control input, where cells that are displayed are
  may be placed in one spot and used for volume up /down, capable of being shown in response to such a gesture of
  while a vertical sensor for up down movementmay be place control in an up or down motion . When card interface 800
   in a different spot and used for channel up and down . In this from FIG . 8 is subjected to a downward gesture and /or
  way specific gesture mappings may be used . As discussed in control input , as an manipulation , display area 705 will show
   further detail below , a two finger swipe gesture may be 45 cell 710 , while cell 760 is moved down so far as not to be
  utilized to initiate the throwing or moving of content from viewable . Likewise part of cell 750 is not displayed in
   the tablet 300 to the main screen or display device 114 .             response to the downward gesture /control input. Cells 750
      FIG . 5 illustrates an exemplary embodiment of an inter and 760 can be viewed again in display area 705 if one
   face known as a card , where various applications are pre operates card interface 800 in an upward gesture, as a
  sented within such a card interface . For example , live 50 manipulation , to yield the arrangement of cells shown in
   television guide application that represents different televi         card interface 700 .
   sion listings are presented within card interface 500. That is,          FIG . 9 is an exemplary embodiment of user interface 900
   the card functions as a window that displays a representation of a device that presents multiple card interfaces. In this
  of the application being run . Such cards can be presented on illustrative embodiment, display area 910 displays multiple
  a device including a tablet, a media player, a phone, a 55 cards 920 , 930 , and 940 which can be manipulated in a
  monitor, a computer, and any other device thathas a display. horizontal direction in response to a gesture and /or control
   Cards can represent different applications such as electronic input,where part of card 940 is not displayed in display area
   program guides, playlists , social media interfaces , games, 910. If one manipulates display area 910 towards the left
   video , audio , web pages, browsers , rendered media services, with a gesture/ control input, the result is shown in FIG . 10
  and the like.                                                       60 for user interface 1000 where card 940 is completely shown
      Returning to card interface 500 , cell 510 displays infor in display area 910 while part of card 920 is not displayed .
  mation about a television show , in this example an infomer If one were to move display area 910 to the right with a
   cial, being broadcasted on a broadcast channel called Com             gesture / control input, the result is shown in FIG . 9 , where
   edy Central. Play control 512 when activated using a gesture card 920 is completely shown in display area 910 while part
  will cause a tuner in a device such as a set top box , tablet, 65 of card 940 is not displayed .
  television , and the like , to tune to a requested channel.               FIG . 11 displays an alternative embodiment of a multiple
  Graphic 515 such as a logo comports to the broadcast card interfaces shown in user interface 1100 that is subjected
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  to a manipulation . Specifically , cards 1120 , 1130 , and 1140 , process using computer code, although such a method can
  are shown in display area 1110. These cards in response to also be implemented using other types of devices, client
  a gesture/ control input in the right direction will result in server relationship , and the like.
  user interface 1200 shown in FIG . 12. That is, user interface        In step 1705 , a media device 200 configures and generates
  1200 shows that cards 1120 and 1130 are moved to the right, 5 cards or windows for display as shown in FIGS. 5-12 , for
  as to show a new card 1150 in display area 1110. If display example . In response to a user command , step 1710 activates
  area 1110 in FIG . 12 is moved to the left in response to a a function of determining regions of interest in the generated
  gesture/ control interface, card 1150 will not be displayed cards/windows in a media device 200. Specifically , in
  while card 1120 becomes visible in display area 1110 as response to a gesture/ control input command ,media device
  shown in FIG . 11 .                                              10 200 will initiate an action of determining what constitutes a
     FIG . 13 displays an illustrative embodiment of imple region of interest.
  menting an interest feature across multiple card interfaces           Step 1715 has a media device 200 determining topics ,
  that a user can use for locating various items of interest. That metadata , graphics, and the like as a region of interest in
  is, user interface 1300 displays three cards 1320 , 1330 , and accordance with user preference information . Such infor
   1340 which have various regions of interest that a user has 15 mation
   interest in . The interest feature can be activated by enabling
                                                                          can be determining by using a user profile where a
                                                                  user explicitly lists keywords or indicates various subjects
   a command , gesture, control interface, and the like . That is,        that the user has interest ( i.e., I like baseball, I hate hockey ).
  the interest feature can be activated in response to a user             Other approaches can determine user preference information
  action to cause an automatic result where such items or                 in accordance with how a user interfaces with media device
  regions of interest are located without having to have a user      20    200 or other devices , where video and audio media that are
  search through all of the displayed cards.                              accessed more are assumed to be more relevant to a user
     Regions of interest 1325 , 1335 , and 1345 be developed in            than video and audio media that are accessed infrequently by
  accordance with a user profile where a user can indicate that           a user. Other preference techniques can be used for deter
  they have particular interests in actors , television shows,            mining a user's preferences can be applied in accordance
  directors, sports teams, music , and the like where such           25   with the described principles. In the present example , meta
  attributes can be stored in a database . An architecture as             data or keywords can be generated as part of the user
  shown in FIG . 1 can use these user attributes and apply a              preference information , although other types of data can be
  search algorithm to find text, pictures,and the like which can          used as well.
  be present on different cards. A display device will then                  Step 1720 then uses the results of such determined user
  attempt to show such areas of interest by rearranging such         30   preference information and applies a search function to find
  cards in response to the activation of the interest feature .           such information if present on the displayed cards/windows.
     Referring to FIG . 13, display area 1310 has a card 1320             For example, if keywords are developed from step 1715 , a
  with an interest region 1325 that is towards the bottom of the          search function looking for such keywords in the text
  card 1320. Card interface 1330 shows that a region of                   present on cards can be used to determine a region of
  interest 1335 is towards the top of the card where most of         35    interest. Similarly, if there is metadata that is associated with
  region of interest 1335 is not visible in display area 1310 .           a graphic present on a card , a keyword that matches such
  Card interface 1340 presents a case where the region of                 metadata would indicate that such a graphic would be
  interest 1345 is below the display area 1310. This means that           potentially a region of interest. Other search techniques can
  region of interest 1345 is not seen because it is not within            be applied for matching up regions of interest can be applied
  display area 1310.                                                 40   in accordance with the described principles .
     FIG . 14 presents an embodiment 1400 of the application                  Step 1725 modifies the windows/cards for display. Once
  of the interest feature where multiple cards are automatically          the regions of interest are determined in step 1720 , step 1725
  moved to show regions of interest in a display area 1310 .              uses this information to determine what cards have regions
   That is, card 1320 is moved towards the top as to have region          of interest . The cards that have regions of interest are moved
  of interest 1325 moved towards the upper part of display           45   up or down by media device 200 as to show such regions of
  area 1310. In contrast, in order to show region of interest             interest in a manner as illustrated in FIGS. 13-16 . In addi
   1335 , card 1330 is moved down so that region of 1335 is               tion , if there are cards that do not possess any regions of
  now visible . Card 1340 is automatically moved in an up interest, such cards can be optionally closed and removed
  direction as to have region of interest 1345 displayed in from a display area . The display area can then be updated
  display area 1310 .                                      50 with new cards that have regions of interest, as determined
     FIGS. 15 and 16 show an alternative embodiment for the               in previous steps 1710-1720.
  application of the interest feature . In FIG . 15 , a user inter           It should be understood that the elements shown in the
  face 1500 with multiple cards with various sizes is shown.              FIGS. may be implemented in various forms of hardware ,
  In the example, cards 1520 , 1550, and 1570 have regions of             software or combinations thereof. Preferably , these elements
  interest 1525 , 1555 , and 1575 , respectively . The problem 55 are implemented in a combination ofhardware and software
  with the presentation of display area 1510 is that cards 1520 on one or more appropriately programmed general-purpose
  and 1570 are not visible, while card 1550 can be seen . That devices, which may include a processor, memory and input/
  is, display area 1510 has cards 1530 , 1540 , and 1560 which output interfaces.
  do not any areas of interest. When the interest feature as         The present description illustrates the principles of the
  previously described is activated , the results are shown in 60 present disclosure . It will thus be appreciated that those
  FIG . 16 where cards 1520 and 1570 are moved to display skilled in the art will be able to devise various arrangements
  area 1570 by having the intervening cards 1530 , 1540, and that, although not explicitly described or shown herein ,
  1560 deleted /removed from display area 1570 .                   embody the principles of the disclosure and are included
     FIG . 17 presents a flow chart 1700 for determining within its scope.
  regions of interest as to update the presentation of displayed 65 All examples and conditional language recited herein are
  cards in accordance with the present disclosure. A controller intended for informational purposes to aid the reader in
   214 within media device 200 can be used to implement this              understanding the principles of the disclosure and the con
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  cepts contributed by the inventor to furthering the art, and             2. The method of claim 1, wherein the at least one region
  are to be construed as being without limitation to such of interest is determined from user preference information.
  specifically recited examples and conditions.                            3. The method of claim 2 , wherein the user preference
      Moreover, all statements herein reciting principles , 5 information comes from at least one or a user profile , prior
  aspects, and embodiments of the disclosure , as well as user activity with media , and explicit user inputs.
  specific examples thereof, are intended to encompass both                4. The method of claim 1, wherein the repositioning
  structural and functional equivalents thereof. Additionally, it further comprises moving the multiple cards in an up or
   is intended that such equivalents include both currently down direction to visibly show the at least one region of
  known equivalents as well as equivalents developed in the interest
  future , i.e., any elements developed that perform the same 10 5. Thein method     all of the multiple cards.
                                                                                                 of claim 4 , wherein the updating for
  function, regardless of structure .                                   display  has   a first  card   and a second card included in the
      Thus, for example , it will be appreciated by those skilled multiple cards being moved                 in opposite directions when
   in the art that the block diagrams presented herein represent
  conceptual views of illustrative circuitry embodying the visibly showing first and second regions of interest included
  principles of thedisclosure. Similarly, it will be appreciated 15 in 6.theThefirstmethod
                                                                                      and second      cards, respectively.
                                                                                                 of claim 4 , wherein the updating for
  that any flow charts, flow diagrams, state transition dia display has a first card                   and a second card included in the
  grams, pseudocode , and the like represent various processes
  that can be substantially represented in computer readable multiple cards being moved in the same direction when
  media and so executed by a computer or processor, whether visibly showing first and second regions of interest included
  or not such computer or processor is explicitly shown . The 20 in the first and second cards, respectively.
  computer readable media and code written on can be imple                 7. Apparatus comprising one or more processors config
  mented in a transitory state (signal) and a non -transitory ured to :
  state (e.g., on a tangible medium such as CD -ROM , DVD ,                determine, in response to a user command , regions of
  Blu -Ray, Hard Drive , flash card , or other type of tangible               interest within each of a plurality of cards by searching
  storage medium ).                                                  25       information indicating previous user preferences; and
       The functions of the various elements shown in the figures          update for display the plurality of cards to visibly show in
  may be provided through the use of dedicated hardware as                    a display area of a display device the at least one region
  well as hardware capable of executing software in associa                   of interest ofmultiple cards included a first group of the
  tion with appropriate software . When provided by a proces                  plurality   of cards, wherein said updating including
  sor, the functions may be provided by a single dedicated 30 repositioning                    the plurality ofcards to remove cards not
  processor, by a single shared processor, or by a plurality of               included   in the   first group from the display area and to
   individual processors, some of which may be shared . More                  visibly display the at least one region of interest within
  over, explicit use of the term “ processor” or “ controller”                all of the multiple cards included in the first group
  should not be construed to refer exclusively to hardware
  capable of executing software, and may implicitly include , 35 8. within     The
                                                                                       the display area of the display device .
                                                                                     apparatus     of claim 7, wherein the at least one
  without limitation, digital signal processor (“ DSP " ) hard region of interest is determined                from user preference infor
  ware , read only memory (“ROM ” ) for storing software, mation .
  random access memory (“ RAM ” ), and nonvolatile storage .
      Other hardware , conventional and /or custom , may also be           9. The apparatus of claim 8 , wherein the user preference
  included . Similarly , any switches shown in the figures are 40 information comes from at least one or a user profile , prior
  conceptual only. Their function may be carried out through user activity with media , and explicit user inputs.
  the operation of program logic, through dedicated logic ,                10. The apparatus of claim 7, wherein the repositioning
  through the interaction of program control and dedicated further comprises moving the multiple cards in an up or
  logic , or even manually, the particular technique being down direction to visibly show the at least one region of
  selectable by the implementer as more specifically under- 45 interest in all of the multiple cards.
  stood from the context.                                                  11. The apparatus of claim 10 , wherein the updating for
      Although embodiments which incorporate the teachings display has a first card and a second card included in the
  of the present disclosure have been shown and described in multiple cards being moved in opposite directions when
  detail herein , those skilled in the art can readily devise many visibly showing first and second regions of interest included
  other varied embodiments that still incorporate these teach- 50 in the first and second cards, respectively.
  ings. It noted that modifications and variations can be
  made by persons skilled in the art in light of the above display         12. The apparatus of claim 10 , wherein the updating for
  teachings.                                                                     has a first card and a second card included in the
      The invention claimed is :                                        multiple    cards being moved in the same direction when
      1. A method comprising:                                        55 visibly showing first and second regions of interest included
      determining, in response to a user command, regions of in 13.         the first and second cards, respectively .
                                                                                A non -transitory computer - readable medium storing
         interest within each of a plurality of cards by searching
         information indicating previous user preferences ; and         executable    program instructions to cause a computer execut
      updating for display the plurality of cards to visibly show ing the instructions to perform a method comprising:
         in a display area of a display device the at least one 60 determining , in response to a user command , regions of
         region of interest of multiple cards included in a first             interest within each of a plurality of cards by searching
         group of the plurality of cards, wherein said updating               information indicating previous user preferences; and
         includes repositioning the plurality of cards to remove           updating for display the plurality of cards to visibly show
         cards not included in the first group from the display               in a display area of a display device the at least one
         area and to visibly display the at least one region of 65            region of interest of multiple cards included in a first
         interest within all of the multiple cards included in the            group of the plurality of cards, wherein said updating
         first group within the display area of the display device .          includes repositioning the plurality of cards to remove
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       cards not included in the first group from the display
       area and to visibly display the at least one region of
       interest within all of the multiple cards included in the
       first group within the display area of the display device .
     14. The non - transitory computer -readable medium of 5
  claim 13 , wherein the at least one region of interest is
  determined from user preference information .
     15. The non - transitory computer-readable medium of
  claim 14 , wherein the user preference information comes
  from at least one or a user profile , prior user activity with 10
  media , and explicit user inputs .
     16. The non -transitory computer-readable medium of
  claim 13, wherein the repositioning further comprises mov
  ing themultiple cards in an up or down direction to visibly
  show the at least one region of interest in all of the multiple 15
  cards .
     17. The non - transitory computer-readable medium of
  claim 16 , wherein the updating for display has a first card
  and a second card included in the multiple cards being
  moved in opposite directions when visibly showing first and 20
  second regions of interest included in the first and second
  cards , respectively .
     18. The non - transitory computer-readable medium of
  claim 16 , wherein the updating for display has a first card
  and a second card included in the multiple cards being 25
  moved in the same direction when visibly showing first and
  second regions of interest included in the first and second
  cards , respectively .
